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                      EXHIBIT B

                Tomasco Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                    (Jointly Administered)
              Debtors.


             DECLARATION OF PATRICIA B. TOMASCO IN SUPPORT
          OF THE DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
     AUTHORIZING THE RETENTION AND EMPLOYMENT OF QUINN EMANUEL
     URQUHART & SULLIVAN, LLP AS SPECIAL LITIGATION COUNSEL FOR THE
    DEBTORS AND DEBTORS-IN-POSSESSION, NUNC PRO TUNC TO AUGUST 1, 2020

             The undersigned proposed attorney for the Boy Scouts of America and Delaware BSA,

LLC (the “Debtors” or “BSA”) hereby submits this verified declaration of disinterestedness

pursuant to Bankruptcy Rule 2014(a).

             1.     My name is Patricia B. Tomasco. I am over the age of 18 years. I am competent

to make this declaration (this “Declaration”) and I have personal knowledge of the facts stated

herein. Each and every statement contained herein is true and correct.

             2.     I am a partner in the law firm of Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn

Emanuel”). Quinn Emanuel maintains offices in 10 U.S. cities and 14 international cities,

including the office at 711 Louisiana, Suite 500, Houston, Texas 77002. The Firm’s main Houston

telephone number is 713-221-7000 and the Firm’s main Houston facsimile number is 713-221-

7100.




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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        3.       This Declaration is submitted on behalf of Quinn Emanuel in support of the

Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of Quinn

Emanuel Urquhart & Sullivan, LLP as Special Litigation Counsel for the Debtors and the Debtors-

in-Possession, Nunc Pro Tunc to August 1, 2020 (the “Application”).2 This Declaration is also

intended to provide the disclosure of compensation required under section 329 of the Bankruptcy

Code and Bankruptcy Rule 2016(b).

          QUINN EMANUEL’S QUALIFICATIONS AND SCOPE OF SERVICES

        4.       Quinn Emanuel has extensive experience in, among other areas, litigation, financial

restructuring, corporate governance, and corporate finance and transactions. Quinn Emanuel

lawyers have significant experience representing and advising the spectrum of constituents in

chapter 11 cases and related proceedings, including debtors, committees, secured and unsecured

creditors, independent or disinterested directors, special committees, shareholders, and other

parties in interest.

        5.       As discussed in the Application, Quinn Emanuel has extensive experience in

representing the BSA in litigation with the Girl Scouts of the United States of America

(“GSUSA”). On November 6, 2018, GSUSA filed a complaint in the United States District Court

for the Southern District of New York, Case No. 18-cv-10287, against the BSA, alleging trademark

infringement, dilution and tortious interference (the “Trademark Action”). The BSA retained

Quinn Emanuel in December 2018 as legal counsel in the Trademark Action.

        6.       On February 18, 2020, the Debtors filed these chapter 11 cases under chapter 11 of

the Bankruptcy Code, staying the Trademark Action.




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.

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       7.      On March 10, 2020, GSUSA filed a motion for relief from stay to resume

prosecution of the Trademark Action (ECF No. 155) (the “Lift Stay Motion”), and on April 24,

2020, the Bankruptcy Court entered an order granting limited relief from the stay (ECF No. 485)

(the “Lift Stay Order”). Pursuant to the Lift Stay Order, the Initial Stay Lift Period (as defined in

the Lift Stay Motion) ended on July 22, 2020. The BSA and GSUSA were unable to reach a

resolution of the Trademark Action, and on July 23, 2020, the automatic stay was lifted to permit

the Trademark Action to proceed. A scheduling conference is set for October 23, 2020, in the

Trademark Action.

       8.      Prior to the expiration of the Initial Lift Stay Period, Quinn Emanuel was originally

retained as a Tier 2 ordinary course professional in these chapter 11 cases pursuant to the Order

(I) Authorizing the Debtors to Retain and Compensate Certain Professionals Used in the Ordinary

Course of Their Non-Profit Operations, Nunc Pro Tunc to the Petition Date (ECF No. 354), but

was later moved to a Tier 1 ordinary course professional pursuant to the Notice of Revised List of

Ordinary Course Professionals (ECF No. 559) (together, the “OCP Orders”).

       9.      Given the expiration of the Initial Stay Lift Period and the resumption of the

Trademark Action, the Debtors anticipate that Quinn Emanuel’s fees may exceed the Tier 1 OCP

Cap of $150,000 per month on average over a rolling three-month period on a go-forward basis.

       10.     In providing representation of the BSA in the Trademark Action since December

2018, Quinn Emanuel’s professionals have worked closely with the BSA’s management and have

gained significant institutional knowledge about the BSA’s organization and non-profit operations

and related matters. Quinn Emanuel is familiar with all aspects of the Trademark Action, including

all of the factual and legal issues related to the claims asserted therein, the defenses thereto, and

the Debtors’ legal needs in connection with this action.



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       11.     Quinn Emanuel has substantial expertise in these areas as well as extensive

historical knowledge of the factual and legal issues underlying the Trademark Action. Subject to

the Court’s approval of the Application, Quinn Emanuel is willing to serve as the Debtors’ special

litigation counsel and to perform the services described above.

                             NO DUPLICATION OF SERVICES

       12.     I understand that the Debtors have retained various other restructuring professionals

and counsel in these chapter 11 cases for particular purposes. The Debtors, Quinn Emanuel, and

such other counsel have fully discussed Quinn Emanuel’s role in these chapter 11 cases so as to

avoid duplication of work. Quinn Emanuel has agreed to make reasonable efforts to avoid

duplication of services by any other professionals employed by the Debtors.

                            PROFESSIONAL COMPENSATION

       13.     Quinn Emanuel intends to apply to the Court for allowance of compensation earned

for professional services and reimbursement of expenses incurred in connection with these chapter

11 cases in accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules, and any other applicable procedures and orders of the Court. Quinn

Emanuel will also make a reasonable effort to comply with the requests for information and

additional disclosures as set forth in the Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

Cases, effective as of November 1, 2013 (the “US Trustee Guidelines”), both in connection with

this Application and any applications for compensation and reimbursement of expenses to be filed

by Quinn Emanuel in these chapter 11 cases.

       14.     Quinn Emanuel will charge the Debtors for its legal services on an hourly basis at

its ordinary and customary rates in effect on the date that such services are rendered and for



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reimbursement of all costs and expenses incurred by Quinn Emanuel in connection with its

representation of the Debtors. Quinn Emanuel’s billing rates for attorneys who may work on this

matter range from range from $535.50 to $1,317.50 per hour for attorneys and from $330.00 to

$390.00 for paraprofessionals. These rates include a 15% discount off of partner billing rates and

a 10% discount on all associate and of-counsel billing rates for the life of the engagement. These

hourly rates are subject to periodic adjustment to reflect economic and other conditions. The

following attorneys are expected to have primary responsibility for providing services to the

Debtors (discounted hourly billing rates noted in parentheses): Rachel Kassabian ($1,062.50);

Margret Caruso ($1,062.50); and Todd Anten ($892.50).

       15.     Quinn Emanuel’s hourly rates are set at a level designed to fairly compensate Quinn

Emanuel for the work of its attorneys and paraprofessionals and to cover fixed and routine

expenses. These hourly rates vary with the experience and seniority of each professional and are

subject to periodic adjustments to reflect economic and other conditions, with the hourly rate

charged being the hourly rate in effect on the date that the services are performed.

       16.     Quinn Emanuel represented the Debtors before the Petition Date using the hourly

rates listed above. Quinn Emanuel’s rate structure is appropriate and not significantly different

from the rates that Quinn Emanuel charges for other representations or the rates that other

comparable counsel would charge to perform substantially similar services.

       17.     In addition to the hourly rates set forth above, Quinn Emanuel customarily charges

its clients for the variable costs and expenses incurred in connection with its services, including

mail and express mail charges, courier charges, Federal Express charges, photocopying charges,

travel expenses, computerized research cost, and charges and fees of outside vendors, consultants,

and service providers.



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       18.     Consistent with Local Rule 2016-2(e), Quinn Emanuel will charge no more than

$0.10 per page for standard black and white duplication services in these chapter 11 cases. Quinn

Emanuel does not charge its clients to receive and send facsimiles.

       19.     Quinn Emanuel will provide ten (10) business days’ notice to the Debtors, the

Office of the United States Trustee for the District of Delaware, and any official committee

appointed in these chapter 11 cases before implementing any periodic increases and shall file such

notice with the Court.

                  COMPENSATION RECEIVED BY QUINN EMANUEL

       20.     Quinn Emanuel’s fees and expenses are currently paid for by the BSA and two

different insurance companies: RSUI Indemnity Company and Beazley USA Services Inc.

(together, the “Insurance Companies”). During the ninety days immediately preceding the Petition

Date, Quinn Emanuel received payments and retainers totaling $2,115,600.55, as follows: (i)

$750,000.00; (ii) $750,000.00; and (iii) $615,600.55. Quinn Emanuel held a $750,000.00 retainer

on February 18, 2020, and applied the retainer against invoices. The remainder of the retainer held

by Quinn Emanuel will be allocated to Quinn Emanuel’s postpetition fees and expenses and such

postpetition fees and expenses are allowed against the Debtors’ estates, including pursuant to the

interim compensation procedures approved by this Court.

       21.     In accordance with section 504 of the Bankruptcy Code, Quinn Emanuel has neither

shared nor agreed to share (a) any compensation or reimbursement it has received or may receive

with another person, other than the partners and associates associated with Quinn Emanuel or (b)

any compensation or reimbursement another person has received or may receive.




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                                   NO ADVERSE INTEREST

       22.     In conjunction with its proposed retention by the Debtors in these chapter 11 cases,

I directed a search of Quinn Emanuel’s conflicts system for the entities listed on the attached

Schedule 1, which include the names of individuals and entities that may be parties in interest in

these chapter 11 cases. The following summarizes the findings gleaned from my review of the

information available on Quinn Emanuel’s conflicts system of current clients of Quinn Emanuel

and affiliates of current clients of Quinn Emanuel that are also associated with the BSA.

       a.      Current Clients of Quinn Emanuel that Are Creditors; Representation on
               Unrelated Matters

       23.     Quinn Emanuel currently represents entities or affiliates of entities that may have

direct or individual claims or interest against the BSA that are listed on the attached Schedule 2.

Except as set forth below, Quinn Emanuel’s ongoing representation of the Schedule 2 entities does

not involve or relate to the BSA or to these chapter 11 cases.

       b.      Current and Former Clients of Quinn Emanuel that Are Creditors of the BSA;
               Representation in These Chapter 11 Cases

       24.     Quinn Emanuel also currently represents creditors and affiliates of creditors of the

BSA as reflected on Schedule 2. Furthermore, Quinn Emanuel previously represented, but does

not currently represent other creditors or affiliates of creditors of the BSA as reflected on Schedule

2. Such representation will not impact Quinn Emanuel’s ability to fulfill its obligations as special

litigation counsel to the BSA as allowed by 11 U.S.C. § 327(e).

       25.     As used on Schedule 2, the term “Current” means a client for which the firm has

performed work within the past 12 months. Contrastingly, the term “Former” means a client for

which the firm has not performed work within the past 12 months whether or not the attorney-




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client relationship was formally terminated. None of the preceding Current clients individually

represents more than 1% of Quinn Emanuel’s annual revenues.

       26.     To the best of my knowledge, based on the searches conducted to date and subject

to any explanations and/or exceptions contained therein, Quinn Emanuel’s representation of these

parties is unrelated and Quinn Emanuel does not hold or represent any interest adverse to the

Debtors’ estates with respect to the matters upon which Quinn Emanuel is to be retained in these

chapter 11 cases.

       27.     Based on the searches conducted to date and described herein, to the best of my

knowledge, neither Quinn Emanuel nor any partner or associate thereof has any connection with

the Office of the U.S. Trustee or any person employed in the Office of the U.S. Trustee, or any

Bankruptcy Judge currently serving on the United States Bankruptcy Court for the District of

Delaware other than normal professionals connections that Quinn Emanuel has developed as a

result of its representations of various parties-in-interest in unrelated matters before the Court.

Accordingly, the Debtors’ retention and employment of Quinn Emanuel is not prohibited by

Bankruptcy Rule 5002.

       28.     To the best of my knowledge, upon reasonable inquiry, neither I nor any

professional of the Quinn Emanuel team that is providing services to the Debtors is a creditor of

the Debtors.

       29.     Given the large number of parties-in-interest in these chapter 11 cases and because

the information on Schedule 1 may have changed without Quinn Emanuel’s knowledge and may

change during the pendency of the Debtors’ chapter 11 cases, Quinn Emanuel is not able

conclusively to identify all relationships or potential relationships with all creditors or other

parties-in-interest in these chapter 11 cases. If any new relevant facts or relationships are



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discovered or arise, Quinn Emanuel will use reasonable efforts to identify such further

developments and will promptly file a supplemental declaration as required by Bankruptcy Rule

2014(a).

        c.       Quinn Emanuel’s Payment History with the Debtors

        30.      As stated above, the pre-petition fees and expenses paid to Quinn Emanuel during

the Trademark Action were paid by the BSA, RSUI Indemnity Company, and Beazley USA

Services Inc., as well as by Chubb and Son, a Division of Federal Insurance Company (“Chubb”).3

Attached hereto as Schedule 3 is a chart of the payments received and invoices submitted since

the beginning of Quinn Emanuel’s representation.

    ATTORNEY STATEMENT PURSUANT TO THE U.S. TRUSTEE GUIDELINES

        31.      The following is provided in response to the request for additional information set

forth in Paragraph D.1 of the U.S. Trustee Fee Guidelines:

        Question:         Did the Firm agree to any variations from, or alternatives to, the Firm’s
                          standard billing arrangements for this engagement?

        Answer:           Yes. Quinn Emanuel and the Debtors have agreed to retain Quinn Emanuel
                          at the same hourly rates that they billed the Debtors prepetition in the
                          Trademark Action, which includes a 15% discount off of partners’ rates and
                          a 10% discount off of associates’ rates.

        Question:         Do any of the Firm’s professionals in this engagement vary their rate based
                          on the geographical location of the Debtors’ chapter 11 case?

        Answer:           No. The hourly rates used by the Quinn Emanuel in representing the BSA
                          are consistent with the rates that the Firm charges other comparable chapter
                          11 clients, regardless of the location of the chapter 11 case.

        Question:         If the Firm has represented the BSA in the 12 months prepetition, disclose
                          the Firm’s billing rates and material financial terms for the prepetition
                          engagement, including any adjustments during the 12 months prepetition.
                          If the Firm’s billing rates and material financial terms have changed post-
                          petition, explain the difference and the reasons for the difference.

3
    The Chubb policy was exhausted prior to the Petition Date.


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Answer:     Quinn Emanuel was first retained by the BSA in December 2018. Quinn
            Emanuel’s fees are determined on the basis of time billed at hourly rates.
            The hourly rates billed by Quinn Emanuel prepetition are the same hourly
            rates requested post-petition.

Question:   Has the BSA approved the Firm’s budget and staffing plan, and if so, for
            what budget period?

Answer:     Quinn Emanuel was retained as a Tier 1 pursuant to the Notice of Revised
            List of Ordinary Course Professionals. Quinn Emanuel submits periodic
            budgets to the BSA and the BSA has approved Quinn Emanuel’s staffing
            plans.


                   [Remainder of Page Intentionally Left Blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 19th day of August, 2020.

                                                    /s/ Patricia B. Tomasco
                                                    Patricia B. Tomasco
                                                    Partner
                                                    QUINN EMANUEL URQUHART &
                                                    SULLIVAN, LLP




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                                        SCHEDULE 1


BANKS
Banco Popular
Bank of America
BB&T
Blackrock Charles
Schwab
CIBC - First Caribbean Bank
Federated Bank
Fidelity Investments
Fifth Third Bank
First Bank - Virgin Islands
First State Bank
Goldman Sachs
InBank
JPMorgan Chase Bank, N.A.
Merrill Lynch, Pierce, Fenner & Smith, Inc.
Northern Trust Corporation
PNC Bank RBC
Bank Regions
Bank
Scotiabank
State Street Bank
TD Bank
US Bank
Wells Fargo & Company




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INSURERS
                                                   Catlin Underwriting Agencies
Ace Insurance Group                                Limited Century Indemnity Company
Aetna Casualty and Surety Company                  Chubb Atlantic Indemnity Ltd.
Agricultural Excess & Surplus Insurance            Chubb Custom Insurance
Company                                            Company Chubb Executive Risk
Agricultural Insurance Company                     Chubb Group of Insurance Companies
AIG                                                Cincinnati Specialty Underwriters
Allianz Global Corporate & Specialty SE            Insurance
Allianz Global Risks US Insurance                  Company
Company                                            Clarendon        America     Insurance
Allianz Insurance Company                          Company         Clarendon      National
Allianz Societas Europaea                          Insurance Company CNA Insurance
Allied World Assurance Co.                         Companies
                                                   Colony Insurance Company
Allied World Assurance Company (U.S.),             Columbia Casualty Company
Inc.                                              Continental Insurance Company
Allied World Assurance Company, Ltd               Endurance American Insurance Company
Alterra Excess & Surplus Insurance                Endurance American Specialty Insurance
Company                                               Company
American Guarantee and Liability Insurance        Enstar Group Limited
Company                                           Euclid Insurance Services, Inc.
American International Group, Inc.                Evanston Insurance Company
American Re-Insurance Company                     Everest National Insurance Company
American Zurich Insurance Company                 Everest Re Group
Arch Capital Group (U.S.)                         Fairfax (US) Inc.
Arch Insurance Company                            Fairfax Financial (USA) Group
Arch Reinsurance Ltd.                             Federal Insurance Company
Argo Group International Holdings, Ltd            Fireman’s Fund Insurance Companies
Argonaut Insurance Company Argonaut               First Specialty Insurance Corporation
Insurance Group                                   First State Insurance Company
Arrowood Indemnity Company                        Gemini Insurance Company
Arrowpoint Capital Corp.                          General Star Indemnity Company
Aspen Insurance Holdings Limited                  Great American
Ategrity Specialty                                Great American Assurance Company
Ategrity Specialty Insurance Company              Great American E & S Insurance Company
AXA Insurance Company                             Great American Property and Casualty
AXA XL                                                Insurance Group
Axis Capital Holdings Limited                     Gulf Insurance Company
Axis Insurance Company                            Hallmark Specialty Insurance Company
Axis Specialty Insurance Company                  Harbor Insurance Company
Axis Surplus Insurance Company                    Hartford Accident and Indemnity Company
Beazley Insurance Company, Inc.                   Houston Casualty Company
Berkley Insurance Company Berkshire               Indemnity Insurance Company of North
Hathaway Insurance Group California                   America
Union Insurance Company                           Indian Harbor Insurance Company




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 Industrial Indemnity                             St. Paul Surplus Lines Insurance Company
 Industrial Insurance Company of Hawaii           Starr Indemnity & Liability Company
 Insurance Company of North America               Starr Specialty
 Insurance Company of the State of                Steadfast Insurance Company
     Pennsylvania (The)                           Swiss Re Group
 International Insurance Company                  Texas Pacific Indemnity Company
 Interstate Fire & Casualty Company               The Hartford Financial Services Group, Inc.
 Landmark Insurance Company                       The Hartford Fire
 Lexington Insurance Company                      The Hartford Insurance Group
 Liberty Insurance Underwriters, Inc.             The Hartford Steam Boiler Inspection And
 Liberty Mutual Insurance Company                     Insurance Company
 Liberty Surplus Insurance Corporation            The Travelers Companies, Inc.
 Lloyd’s of London                                Traders and Pacific Insurance Company
 London Market                                    Travelers (Bermuda) Limited
 Markel American Insurance Company                Travelers Casualty and Surety Company
 Markel Corporation Group                         Travelers Indemnity Company
 Marsh & McLennan Companies                       Twin City Fire Insurance Company
 MHBT, a Marsh & McLennan Agency                  U.S. Fire Insurance Company
 Munich Re Group                                  Universal Re-Insurance Company Limited
 Munich Reinsurance America, Inc.                 Utica Mutual Insurance Company
 National Casualty Company                        W. R. Berkley Corporation
 National Surety Corporation                      W.R. Berkley Group
 National Union Fire Insurance Company Of         Westchester Fire Insurance Company
     Pittsburgh, PA                               Westchester Surplus Lines Insurance
 Navigators Group, Inc.                               Company
 Navigators Insurance Company                     XL Catlin
 Navigators Specialty Insurance Company           XL Europe Limited
 Niagara Fire Insurance Company                   XL Insurance (Dublin) Ltd.
 Normandy Reinsurance Company Limited             XL Insurance Company SE
 Ohio Casualty Insurance Company (The)            Zurich Financial (USA) Group
 Old Republic General Group                       Zurich Financial Services Group
 Old Republic Insurance Company
 Old Republic Insurance Group
 Pacific Employers Ins. Company
 Pacific Indemnity Company
 Property/Casualty Insurance Co. Of
     Hartford
 RLI Professional Risk
 Royal Indemnity Company
 RSUI Group
 R-T Specialty
 Sompo - Endurance American Insurance
     Company
 Sompo Holdings, Inc.




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LANDLORDS
1040 Avenue of the Americas LLC
IRC Retail Centers




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TORT CLAIMANTS COMMITTEE

Christopher Desmond Haywood
Douglas A. Kennedy
John Humphrey
Jorge Tabon
Jorge Vega
Morgan Wade
Paul Richard Halvorson
Robb Lawson
Robert Grier




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UNSECURED CREDITORS COMMITTEE

Girl Scouts of the United States of America
Lion Brothers Company Inc.
Pearson Education, Inc.
Pension Benefit Guaranty Corporation
Roger A. Ohmstede




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    TOP 30 GENERAL UNSECURED CREDITORS OF THE DEBTORS (NON-ABUSE
    CLAIMS)3

    American Engineers & Contractors
    Anne Terry
    Bradley Farmer
    C. Michael Hoover Jr.
    C. Wayne Brock
    David J. Ross II
    Donald McChesney
    Gary Butler
    Hugh Travis
    Jeffrey Hunt John
    Green Judith
    Ratcliffe Kathy
    Sue Stone
    Kenneth L. Connelly
    Michael Surbaugh
    NCS Pearson, Inc.
    Quad/Graphics, Inc.
    Raymond L. Blackwell
    Richard Lehr
    Robert J. Mazzuca
    Robert Tuggle Roy
    L. Williams
    Thomas H. Fitzgibbon
    Thomas Harrington
    Thomas Varnell




3        The professionals seeking to be retained also ran the names of certain individual plaintiffs. In accordance with the
         Interim Order (I) Authorizing the Debtors' to file (A) a Consolidated List of Counsel Representing the Largest
         Numbers of Abuse Victims and (B) a Consolidated List of Other Unsecured Creditors of the Debtors, (III)
         Authorizing and Approving Procedures for Providing Notice of Commencement, and (IV) Granting Related Relief
         [Docket No. 66], in order to protect the identities of individual plaintiffs asserting abuse claims and individual
         plaintiffs who are minors, the Debtors have redacted such information from this list. The Debtors will provide an
         unredacted version of this list to the Court, the Office of the United States Trustee, and the Committees upon
         request.




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TOP 25 PLAINTIFFS’ LAW FIRMS REPRESENTING THE LARGEST NUMBER
OF ABUSE VICTIMS ASSERTING CLAIMS AGAINST THE DEBTORS

Andreozzi & Associates, P.C.
Ava Law Group, Inc.
Bondurant, Mixson & Elmore, LLP
Crew Janci LLP
Dumas Law Group, LLC (A/K/A Dumas & Vaughn Attorneys at Law) Eisenberg
Rothweiler, Winkler, Eisenberg & Jeck, P.C.
Green & Gillispie
Gregg, Hunt, Ahern & Embry Attorneys at Law
Hurley McKenna & Mertz, P.C.
Jeff Anderson & Associates, PA
Kosnoff Law
Law Offices of Mitchell Garabedian
Lindsay Hart, LLP
Lujan & Wolff, LLP
Marsh Law Firm
Merson Law Michael
G. Dowd Paul Mones
Penn Law Group
Pfau Cochran Vertetis Amala PLLC
Rebenack, Aronow, Mascolo, LLP
Robins Kaplan LLP
Rubenstein & Rynecki
Sweeny Reich & Bolz, LLP
Thomas Law Office, PLLC




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PARTIES INVOLVED IN THE DISTRICT COURT CASE

Dorsey & Whitney LLP (counsel to the Girl Scouts of America)

Local Council Third-Party Subpoenas:

Alabama-Florida Council, Boy Scouts of America
Cape Fear Council, Boy Scouts of America
Circle 10 Council, Boy Scouts of America
Daniel Boone Council, Inc., Boy Scouts of America
East Carolina Council, Boy Scouts of America
Erie Shores Council, Inc., Boy Scouts of America
Golden Empire Council, Boy Scouts of America
Greater Yosemite Council, Inc., Boy Scouts of America
LaSalle Council, Boy Scouts of America, No. 165
Last Frontier Council, Inc., Boy Scouts of America
Northern Star Council, Boy Scouts of America
Occoneechee Council of the Boy Scouts of America
Old North State Council, Boy Scouts of America
Piedmont Council, Boy Scouts of America
Quapaw Area Council, Inc. of the Boy Scouts of America
Shenandoah Area Council, Inc., Boy Scouts of America
Southwest Florida Council, Inc., Boy Scouts of America
Ventura County Council of the Boy Scouts of America
Western Massachusetts Council, Inc., Boy Scouts of
America
Girl Scouts of California’s Central Coast
Girl Scouts Carolinas Peaks to Piedmont
Girl Scouts Diamonds of Arkansas, Oklahoma and Texas
Girl Scouts Heart of Central California
Girl Scouts – North Carolina Coastal Pines
Girl Scouts of Central & Western Massachusetts
Girl Scouts of Central Indiana
Girl Scouts of Gulfcoast Florida, Inc.
Girl Scouts of Minnesota and Wisconsin River Valleys
Girl Scouts of Nation's Capital
Girl Scouts of Northeast Texas
Girl Scouts of Northern California
Girl Scouts of Northern Indiana-Michiana
Girl Scouts – Western Oklahoma




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Other Third-Party Subpoenas

Bader Consulting LLC
Guidepost Solutions LLC
Signafire Technologies Inc.
Be The Change Revolutions, LLC, d/b/a BTC
CEROS, Inc.
The Ogilvy Group, LLC
Mercury Public Affairs LLC
The Dilenschenider Group, Inc.
Socialfly, LLC
Sunshine, Sachs Marketing LLC
VPE Public Relations
Fleishman-Hillard, Inc.
Golin/Harris International, Inc.
Johnson & Sekin, LLC
North Star Opinion Research, Inc.




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                                      SCHEDULE 2
                COMPANY                                      RELATIONSHIP
 Ace Insurance Company                          Former client
 AIG                                            Current client
 Allianz                                        Current client
 Allied World Assurance Co.                     Current client
 American Guarantee and Liability Insurance     Former client
 American International Group, Inc.             Current client
 American Re-Insurance Company                  American Int’l Reinsurance Co. is a Former
                                                Client
 American Zurich Insurance Company              Zurich American Insurance is a Former Client
 AXA Insurance Company                          Current client
 Axis Capital Holdings Limited                  Axis Capital Management is a Current Client
 Axis Insurance Company                         Former client
 Bank of America                                Current client
 Beazley Insurance Company, Inc.                Beazley Management Ltd and Beazley Group
                                                are Former Clients
 Berkshire Hathaway Insurance Group             Former client
 Blackrock                                      Current client
 California Union Insurance Company             Former client
 Charles Schwab                                 Current client
 Chubb                                          Former client
 CNA Insurance Companies                        Former client
 Continental Insurance Company                  Current client
 Douglas A. Kennedy                             Former client
 Federal Insurance Company                      Former client
 Fifth Third Bank                               Former client
 Fireman’s Fund Insurance Companies             Former client
 First State Insurance Company                  Former client
 Great American E & S Insurance Company         Great American Insurance Co is a Current
                                                client
 Houston Casualty Company                       Current client
 Indian Harbor Insurance Company                Former client
 Hartford Accident and Indemnity Company        Former client
 Interstate Fire & Casualty Company             Former client
 Landmark Insurance Company                     Former client
 Lexington Insurance Company                    Former client
 Liberty Insurance Underwriters, Inc.           Former client
 Liberty Mutual Insurance Company               Former client
 Lloyd’s of London                              Former client
 London Market                                  Former client
 Markel American Insurance Company              Former client
 Markel Corporation Group                       Former client
 Marsh & McLennan Companies                     Former client



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                  COMPANY                                        RELATIONSHIP
 National Surety Corporation                       Current client
 National Union Fire Insurance Company             Current client
 Northern Trust Company                            Current client
 Old Republic Insurance Group                      Current client
 Pearson Education, Inc.                           Former client
 Scotiabank                                        Former client
 St. Paul Surplus Lines Insurance Company          Former client
 State Street Bank                                 Current client
 Steadfast Insurance Company                       Former client
 Swiss Re Group                                    If related, the Swiss Market Participants Group
                                                   is a Former client
 Texas Pacific Indemnity Company                   If related, TPG Capital a/k/a Texas Pacific
                                                   Group is a Current client
 The Hartford Financial Services Group, Inc.       Former client
 The Hartford Insurance Group                      Former client
 Travelers Casualty and Surety Company             Former client
 Travelers Indemnity Company                       Former client
 The Travelers Companies, Inc.                     Former client
 Travelers (Bermuda) Limited                       Former client
 Twin City Fire Insurance Company                  Former client
 Wells Fargo & Company                             Former client
 US Bank                                           Current client
 XL Europe Limited                                 Former client




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                                                  SCHEDULE 3



                               Trust
        Date                Receipts /        Cash Receipts
                         (Disbursements)

 12/09/19                                     $ 1,725,875.48
 12/30/19                                     $ 1,434,631.34
 02/03/20                 $    (750,000.00)
 02/03/20                                     $   750,000.00
 02/07/20                 $     750,000.00
 02/07/20                                     $    54,150.72
 02/18/20                 $    (615,600.55)
 02/18/20                                     $ 615,600.55
 TOTALS:                      $ (615600.55)    $4,580,258.09




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